






Opinion issued April 10, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-08-00003-CV






WILLIAM L. HAWKINS,  Appellant


V.


PEARLIE MAE WAFER CERF AND HEIRS, VIRGINIA P. DONALDSON,
ET AL., ADMINISTRATOR OF ESTATE, KIMBERLY A. ALLEN, 
Appellees






On Appeal from the 80th District Court 

Harris County, Texas

Trial Court Cause No. 2007-067579






MEMORANDUM OPINION	Appellant William L. Hawkins has neither established indigence, nor paid all
the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov't Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2007) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant William L. Hawkins did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.


